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                                                            Magistrate Judge Brian. A. Tsuchida
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
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10
     UNITED STATES OF AMERICA,                            CASE NO. MJ25-371
11
                               Plaintiff,
12
                         v.                               COMPLAINT for VIOLATIONS
13
     ANDREW VOEGEL-PODADERA,
14                                                        21 U.S.C. § 843(a)(3)
                               Defendant.
                                                          (Acquiring a Controlled Substance by
15
                                                          Misrepresentation, Fraud, Deception, and
16                                                        Subterfuge)

17
                                                          (FILED UNDER SEAL)
18
19          BEFORE the Honorable Brian A. Tsuchida, United States Magistrate Judge, U.S.
20 Courthouse, Seattle, Washington.
21          The undersigned complainant being duly sworn states:
22                                               COUNT ONE
23                        Acquiring a Controlled Substance by Misrepresentation,
24                                      Fraud, Deception, and Subterfuge
25          On or about December 27, 2024, in King County, within the Western District of
26 Washington, ANDREW VOEGEL-PODADERA did knowingly and intentionally acquire,
27
     Complaint - 1                                                   UNITED STATES ATTORNEY
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 1 obtain, and attempt to acquire and obtain, fentanyl, a Schedule II controlled substance, by
 2 misrepresentation, fraud, deception, and subterfuge.
 3          All in violation of Title 21, United States Code, Sections 843(a)(3) and 843(d)(1).
 4                                               COUNT TWO
 5                        Acquiring a Controlled Substance by Misrepresentation,
 6                                      Fraud, Deception, and Subterfuge
 7          On December 27, 2024, in King County, within the Western District of Washington,
 8 ANDREW VOEGEL-PODADERA did knowingly and intentionally acquire, obtain, and
 9 attempt to acquire and obtain, hydromorphone, a Schedule II controlled substance, by
10 misrepresentation, fraud, deception, and subterfuge.
11          All in violation of Title 21, United States Code, Sections 843(a)(3) and 843(d)(1).
12          And the complainant states that this complaint is based on the following
13 information:
14          1.      I am a Special Agent with the Food and Drug Administration – Office
15 Criminal Investigations (“FDA-OCI”) assigned to the Kirkland Domicile Office. I have
16 worked as a federal criminal investigator for FDA-OCI since January 2009. Prior to my
17 current employment, I served seven years as a Special Agent with the Internal Revenue
18 Service, Criminal Investigation. I successfully completed the basic criminal investigations
19 program at the Federal Law Enforcement Training Center in Brunswick, GA in 2001. As
20 a Special Agent for the FDA-OCI, I am responsible for investigating violations of the Food,
21 Drug and Cosmetic Act, as well as other federal and state laws. I have directed and/or
22 participated in numerous federal and state criminal investigations. Through my training,
23 education, and experience, I have become familiar with diversion cases involving the
24 unlawful acquisition of controlled substances, as well as health care benefit programs.
25          2.      During an ongoing investigation, I have developed probable cause to believe
26 that ANDREW VOEGEL-PODADERA, an anesthesiologist resident who worked at
27 several hospitals in the Seattle area, engaged in criminal activity, including, but not limited
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 1 to, violations of 21 U.S.C. § 843(a)(3). Specifically, VOEGEL-PODADERA unlawfully
 2 diverted controlled substances while working as an anesthesiologist and made false
 3 statements on medical records to facilitate his diversion of controlled substances.
 4          3.      The information in this affidavit comes from my training and experience, my
 5 personal observations and review of records, and information obtained from other agents
 6 and witnesses, among other sources. Because this affidavit is submitted for the limited
 7 purpose of establishing probable cause, I have not set forth every fact that I, or others, have
 8 learned during this investigation. When the statements of others are set forth in this
 9 affidavit, they are set forth in substance and in part.
10                                      Subject of the Investigation
11          4.      Dr. Andrew Martin (Marty) VOEGEL-PODADERA was a resident
12 physician at the University of Washington Medical School and was most recently assigned
13 a rotation at Seattle Children’s Hospital. At all relevant times, he held a registration with
14 the Drug Enforcement Administration (“DEA”) relating to the prescribing of controlled
15 substances.
16                    Background on Fentanyl and Hydromorphone Diversion
17          5.      I have participated in the investigation of diversion cases involving the
18 unlawful acquisition of controlled substances, such as fentanyl and hydromorphone. Based
19 on my participation in these investigations and training and experience, I know the
20 following.
21          6.      Fentanyl is a powerful synthetic opioid medication used to relieve severe
22 pain, often during and after surgery. It works by blocking pain signals in the brain and is
23 administered by healthcare professionals in a clinical setting. Fentanyl is classified as a
24 Schedule II controlled substance due, in part, to its potential for abuse. It is approximately
25 100 times more potent than morphine and 50 times more potent than heroin as an analgesic.
26          7.      Hydromorphone (brand name Dilaudid) is a powerful synthetic opioid
27 medication used to relieve severe pain, often during and after surgery. It works by blocking
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 1 pain signals in the brain and is administered by healthcare professionals in a clinical setting.
 2 Hydromorphone is classified as a Schedule II controlled substance due, in part, to its
 3 potential for abuse. Hydromorphone has an analgesic potency approximately two to eight
 4 times greater than that of morphine and has a rapid onset of action.
 5          8.      Common deceptions or other indicators seen in diversion cases include:
 6                  • Late administration of controlled substances;
 7                  • Late or excessive wastage of controlled substances;
 8                  • Lack of documentation of administration of controlled substances;
 9                  • The removal of controlled substances and subsequent wastage of the
10                      same amount hours later;
11                  • Removal of controlled substances without a legitimate medical purpose;
12                      and
13                  • Behavior indicative of drug abuse.
14                                  Facts Supporting Probable Cause
15          Seattle Children’s Hospital
16          9.      On January 8, 2025, the DEA Seattle Diversion Group received a report
17 indicating that ANDREW VOEGEL-PODADERA was suspected of diverting controlled
18 substances from Seattle Children’s Hospital.
19          10.     ANDREW VOEGEL-PODADERA worked at Seattle Children’s Hospital
20 on December 27, 2024, as a resident anesthesiologist. He treated three minor patients that
21 day, who I will refer to as Patient 1, Patient 2, and Patient 3, while working with an
22 attending physician who I will refer to as Attending Physician 1.
23          11.     During ANDREW VOEGEL-PODADERA’s shift on December 27, 2024,
24 Attending Physician 1 developed suspicions that ANDREW VOEGEL-PODADERA was
25 diverting controlled substances. Among other things, Attending Physician 1 believed that
26 ANDREW VOEGEL-PODADERA was displaying behaviors consistent with drug use,
27 including unexplained delays and absences from the operating room. Attending Physician
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 1 1 also observed that ANDREW VOEGEL-PODADERA drew up an excessive amount of
 2 fentanyl into syringes that would almost certainly not be needed for their patients that day.
 3          12.     When ANDREW VOEGEL-PODADERA completed his work for the day at
 4 Seattle Children’s Hospital, he returned his controlled substances box to the hospital’s
 5 pharmacist. He reported on a written medication record that, as to Patient 1, he had
 6 administered 60mcg of fentanyl with the remainder from the syringe (40mcg) as wastage.
 7 He also reported that a second syringe drawn up for this patient containing 100mcg of
 8 fentanyl was wastage. As to Patient 2, he reported that he administered no fentanyl, but
 9 that there was a full unused syringe (100mcg) as wastage. He also reported that he
10 administered .2mg of hydromorphone to Patient 2 with the remainder from the syringe
11 (1.8mg) as wastage. Finally, as to Patient 3, he reported 100mcg of fentanyl as wastage.
12          13.     Seattle Children’s Hospital arranged for all the substances returned by
13 ANDREW VOEGEL-PODADERA as wastage on December 27, 2024, to be tested.
14 Laboratory analysis found that fentanyl and hydromorphone were absent, and instead the
15 waste syringes appeared to be filled with nothing other than saline solution.
16          14.     According       to   Seattle   Children’s    Hospital,   ANDREW        VOEGEL-
17 PODADERA had worked at their location for a total of eleven days before this discovery.
18          The Defendant’s Admissions
19          15.     In February 2025, DEA received reports and other documents indicating that
20 ANDREW VOEGEL-PODADERA admitted to diverting controlled substances while
21 working at Seattle Children’s Hospital, as well as University of Washington Medical
22 Center (UWMC) and Harborview Medical Center (HMC), going back to January 2024.
23          16.     ANDREW VOEGEL-PODADERA was interviewed about his conduct. I
24 was not present for this interview, but I have reviewed records and witness statements
25 concerning his statements.
26          17.     ANDREW VOEGEL-PODADERA stated he diverted medications from all
27 three facilities starting in January 2024. ANDREW VOEGEL-PODADERA specifically
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 1 stated that he diverted “probably half the time” of the eleven days he worked at Seattle
 2 Children’s Hospital, according to written notes from his interview.
 3          18.     ANDREW VOEGEL-PODADERA claimed that generally he would draw
 4 up a medication, administer a partial amount to the patient, and take the rest for personal
 5 use.
 6          19.     ANDREW VOEGEL-PODADERA stated he would sometimes take
 7 diverted medications during his shift, intravenously.
 8          20.     ANDREW VOEGEL-PODADERA stated he sometimes would document
 9 that a patient was given a medication, but did not give this medication. ANDREW
10 VOEGEL-PODADERA confirmed that he did this with adult patients and with child
11 patients.
12          21.     ANDREW VOEGEL-PODADERA stated that “probably one day,” saline
13 was drawn up, labeled as fentanyl, and administered to a patient. ANDREW VOEGEL-
14 PODADERA said that this happened at Seattle Children’s Hospital.
15          22.     ANDREW VOEGEL-PODADERA stated that he diverted fentanyl,
16 remifentanil, sufentanil, hydromorphone, dexmedetomidine, ketorolac, ondansetron, and
17 “occasional” benzodiazepines.
18          Subsequent Events
19          23.     ANDREW VOEGEL-PODADERA’s privileges and access to all three
20 hospitals is currently revoked.
21          24.     A DEA investigator obtained and reviewed records from ANDREW
22 VOEGEL-PODADERA’s prescribing practices at HMC. HMC records revealed that
23 ANDREW VOEGEL-PODADERA had a history of late or undocumented wastage of
24 controlled substances, extended periods of time between the withdrawal and administration
25 of controlled substances to a patient, the withdrawal of multiple controlled substances at
26 one time for a single patient, and other irregularities in the documentation of controlled
27
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